                  Case 10-40400-KCF                              Doc 1          Filed 09/30/10 Entered 09/30/10 16:29:42                                                   Desc Main
B1 (Official Form 1)(4/10)
                                                                                Document     Page 1 of 79
                                                  United States Bankruptcy Court
                                                              District of New Jersey                                                                                Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Greenlaw, Richard F


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-3794
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  41 Wellington Road
  East Brunswick, NJ
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         08816-1720
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Middlesex
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                                     (Check one box)                                                 the Petition is Filed (Check one box)
                       (Check one box)                              Health Care Business                                    Chapter 7
                                                                    Single Asset Real Estate as defined                     Chapter 9                       Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)                            in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.                                                                                  Chapter 11
                                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Corporation (includes LLC and LLP)                             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
                                                                    Commodity Broker
     Partnership
                                                                    Clearing Bank
     Other (If debtor is not one of the above entities,             Other                                                                               Nature of Debts
     check this box and state type of entity below.)                                                                                                     (Check one box)
                                                                            Tax-Exempt Entity
                                                                           (Check box, if applicable)                      Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                    under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
              Case 10-40400-KCF                     Doc 1        Filed 09/30/10 Entered 09/30/10 16:29:42                                          Desc Main
B1 (Official Form 1)(4/10)
                                                                 Document     Page 2 of 79                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Greenlaw, Richard F
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X
                                                                                            Signature of Attorney for Debtor(s)                     (Date)



                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(4/10)
                                                                   Document     Page 3 of 79                                                                            Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Greenlaw, Richard F
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Richard F Greenlaw                                                               X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Richard F Greenlaw

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     September 30, 2010
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Dawn R. SanFilippo
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Dawn R. SanFilippo DRS8247                                                               debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Dawn R. SanFilippo, Esq., P.C.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      411 Pompton Avenue
      Lower Level                                                                              Social-Security number (If the bankrutpcy petition preparer is not
      Cedar Grove, NJ 07009-1800                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                        Email: drsesqdawn@optonline.net
      973-239-3100 Fax: 973-239-7680
     Telephone Number
     September 30, 2010
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                               District of New Jersey
 In re       Richard F Greenlaw                                                                         Case No.
                                                                                        Debtor(s)       Chapter    13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

            1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

             2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.

           3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                        Page 2



           4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                   Active military duty in a military combat zone.

          5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:            /s/ Richard F Greenlaw
                                                                                          Richard F Greenlaw
                                                          Date:           September 30, 2010




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                 United States Bankruptcy Court
                                                                              District of New Jersey
  In re          Richard F Greenlaw                                                                              Case No.
                                                                                                            ,
                                                                                           Debtor
                                                                                                                 Chapter                  13




                                                                     SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                            ATTACHED               NO. OF        ASSETS               LIABILITIES            OTHER
                                                           (YES/NO)              SHEETS

A - Real Property                                                Yes                1               349,500.00


B - Personal Property                                            Yes                4                11,788.78


C - Property Claimed as Exempt                                   Yes                2


D - Creditors Holding Secured Claims                             Yes                1                                      142,021.00


E - Creditors Holding Unsecured                                  Yes                3                                       39,696.72
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                  Yes                20                                     339,331.80
    Nonpriority Claims

G - Executory Contracts and                                      Yes                1
   Unexpired Leases

H - Codebtors                                                    Yes                5


I - Current Income of Individual                                 Yes                1                                                              4,912.00
    Debtor(s)

J - Current Expenditures of Individual                           Yes                1                                                              6,791.05
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                          39


                                                                           Total Assets             361,288.78


                                                                                             Total Liabilities             521,049.52




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Form 6 - Statistical Summary (12/07)


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                                                                 United States Bankruptcy Court
                                                                              District of New Jersey
  In re           Richard F Greenlaw                                                                               Case No.
                                                                                                               ,
                                                                                             Debtor
                                                                                                                   Chapter                 13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                       Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                                     TOTAL


              State the following:

              Average Income (from Schedule I, Line 16)


              Average Expenses (from Schedule J, Line 18)

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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B6A (Official Form 6A) (12/07)


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  In re          Richard F Greenlaw                                                                                       Case No.
                                                                                                              ,
                                                                                                Debtor

                                                               SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                              Husband,    Current Value of
                                                                                      Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                                  Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                             Community Deducting  any Secured
                                                                                                                         Claim or Exemption

Debtor's primary residence.                                                          Equitable interest           -                  349,500.00               142,021.00
41 Wellington Road
East Brunswick, New Jersey 08816-1720




                                                                                                              Sub-Total >            349,500.00       (Total of this page)

                                                                                                                      Total >        349,500.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                              (Report also on Summary of Schedules)
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  In re          Richard F Greenlaw                                                                                         Case No.
                                                                                                                ,
                                                                                               Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

1.    Cash on hand                                              On Debtor's person and at residence.                                   -                            20.00

2.    Checking, savings or other financial                      Natixi Funds                                                           -                            35.88
      accounts, certificates of deposit, or                     PO Box 219579
      shares in banks, savings and loan,                        Kansas City, MO 64121-9579
      thrift, building and loan, and                            CMT Money Market Act. No.: xxx2239
      homestead associations, or credit                         Value as of June 30, 2010
      unions, brokerage houses, or
      cooperatives.                                             Investors Capital                                                      -                            13.73
                                                                230 Broadway
                                                                Lynnfield, MA 01940-2320
                                                                Money Market Act. No.: xxx-xx3684
                                                                Value as of June 30, 2010

                                                                Wachovia Bank                                                          -                              0.00
                                                                D1118-02D
                                                                PO Box 563966
                                                                Charlotte, NC 28256-3966
                                                                Access Fifty Checking Act. No.: 9440

                                                                Wachovia Bank                                                          -                              0.00
                                                                D1118-02D
                                                                PO Box 563966
                                                                Charlotte, NC 28256-3966
                                                                Way2Save Savings Act. No.: 0540

3.    Security deposits with public                         X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                          Three (3) sofas, two (2) loveseats, ottoman, lamps,                    -                        5,100.00
      including audio, video, and                               tables, desks, dining room set, pool table, rocker,
      computer equipment.                                       bookcase, master bedroom set, miscellaneous
                                                                bedroom furniture, two (2) computers, recliner,
                                                                washer/dryer and refrigerator.

5.    Books, pictures and other art                             Miscellaneous pictures, CDs and books.                                 -                           650.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.



                                                                                                                                       Sub-Total >            5,819.61
                                                                                                                           (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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                Case 10-40400-KCF                           Doc 1          Filed 09/30/10 Entered 09/30/10 16:29:42                              Desc Main
                                                                          Document      Page 10 of 79
B6B (Official Form 6B) (12/07) - Cont.




  In re          Richard F Greenlaw                                                                                         Case No.
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

6.    Wearing apparel.                                          Casual and work clothing.                                              -                           500.00

7.    Furs and jewelry.                                         Three (3) men's watches, rings, tie bars and                           -                           300.00
                                                                cufflinks.

8.    Firearms and sports, photographic,                        Tennis racquet and digital camera.                                     -                           100.00
      and other hobby equipment.

9.    Interests in insurance policies.                      X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                        X
    issuer.

11. Interests in an education IRA as                        X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                          Wells Fargo Advisors                                                   -                            43.47
    other pension or profit sharing                             155 Elm Street
    plans. Give particulars.                                    Westfield, NJ 07090
                                                                IRA xxx-5508
                                                                Value as of June 30, 2010

                                                                Presiential Life Insurance Co.                                         -                           225.70
                                                                69 Lydecker Street
                                                                Nyack, NY 10960
                                                                Policy No.: xxxx3167
                                                                Cash Surrender Value as of December 31, 2009.

13. Stock and interests in incorporated                         Aesculapius, Inc.                                                      -                              0.00
    and unincorporated businesses.                              41 Wellington Road
    Itemize.                                                    East Brunswick, NJ 08816

14. Interests in partnerships or joint                      X
    ventures. Itemize.

15. Government and corporate bonds                          X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                    X




                                                                                                                                       Sub-Total >            1,169.17
                                                                                                                           (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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                Case 10-40400-KCF                           Doc 1          Filed 09/30/10 Entered 09/30/10 16:29:42                              Desc Main
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B6B (Official Form 6B) (12/07) - Cont.




  In re          Richard F Greenlaw                                                                                         Case No.
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

17. Alimony, maintenance, support, and                      X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                     X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                            X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                       X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                          X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                         X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                    X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                          1999 Mazda 626 Sedan                                                   -                        3,800.00
    other vehicles and accessories.

26. Boats, motors, and accessories.                         X

27. Aircraft and accessories.                               X



                                                                                                                                       Sub-Total >            3,800.00
                                                                                                                           (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Richard F Greenlaw                                                                                         Case No.
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

28. Office equipment, furnishings, and                          Desk, tables, filing cabinets, fax machine and                          -                       1,000.00
    supplies.                                                   copier.

29. Machinery, fixtures, equipment, and                     X
    supplies used in business.

30. Inventory.                                              X

31. Animals.                                                X

32. Crops - growing or harvested. Give                      X
    particulars.

33. Farming equipment and                                   X
    implements.

34. Farm supplies, chemicals, and feed.                     X

35. Other personal property of any kind                     X
    not already listed. Itemize.




                                                                                                                                       Sub-Total >            1,000.00
                                                                                                                           (Total of this page)
                                                                                                                                            Total >         11,788.78
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                                   (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/10)


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   In re          Richard F Greenlaw                                                                                          Case No.
                                                                                                                  ,
                                                                                                Debtor

                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                              with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                        Value of                 Current Value of
                    Description of Property                                                Each Exemption                            Claimed                  Property Without
                                                                                                                                    Exemption               Deducting Exemption
Real Property
Debtor's primary residence.                                                    11 U.S.C. § 522(d)(1)                                      21,625.00                      349,500.00
41 Wellington Road
East Brunswick, New Jersey 08816-1720

Cash on Hand
On Debtor's person and at residence.                                           11 U.S.C. § 522(d)(5)                                            20.00                            20.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Natixi Funds                                      11 U.S.C. § 522(d)(5)                                                                         35.88                            35.88
PO Box 219579
Kansas City, MO 64121-9579
CMT Money Market Act. No.: xxx2239
Value as of June 30, 2010

Investors Capital                                                              11 U.S.C. § 522(d)(5)                                            13.73                            13.73
230 Broadway
Lynnfield, MA 01940-2320
Money Market Act. No.: xxx-xx3684
Value as of June 30, 2010

Household Goods and Furnishings
Three (3) sofas, two (2) loveseats, ottoman,                                   11 U.S.C. § 522(d)(3)                                        5,100.00                         5,100.00
lamps, tables, desks, dining room set, pool
table, rocker, bookcase, master bedroom set,
miscellaneous bedroom furniture, two (2)
computers, recliner, washer/dryer and
refrigerator.

Books, Pictures and Other Art Objects; Collectibles
Miscellaneous pictures, CDs and books.              11 U.S.C. § 522(d)(5)                                                                     650.00                            650.00

Wearing Apparel
Casual and work clothing.                                                      11 U.S.C. § 522(d)(5)                                          500.00                            500.00

Furs and Jewelry
Three (3) men's watches, rings, tie bars and                                   11 U.S.C. § 522(d)(4)                                          300.00                            300.00
cufflinks.

Firearms and Sports, Photographic and Other Hobby Equipment
Tennis racquet and digital camera.              11 U.S.C. § 522(d)(5)                                                                         100.00                            100.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Wells Fargo Advisors                                11 U.S.C. § 522(d)(12)                                                                      43.47                            43.47
155 Elm Street
Westfield, NJ 07090
IRA xxx-5508
Value as of June 30, 2010




    1      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re          Richard F Greenlaw                                                                                Case No.
                                                                                                                ,
                                                                                                 Debtor

                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                        (Continuation Sheet)

                                                                                        Specify Law Providing           Value of             Current Value of
                    Description of Property                                                Each Exemption               Claimed              Property Without
                                                                                                                       Exemption           Deducting Exemption

Presiential Life Insurance Co.                                                 11 U.S.C. § 522(d)(12)                           225.70                    225.70
69 Lydecker Street
Nyack, NY 10960
Policy No.: xxxx3167
Cash Surrender Value as of December 31, 2009.

Automobiles, Trucks, Trailers, and Other Vehicles
1999 Mazda 626 Sedan                                                           11 U.S.C. § 522(d)(2)                           3,450.00                3,800.00
                                                                               11 U.S.C. § 522(d)(5)                             350.00

Office Equipment, Furnishings and Supplies
Desk, tables, filing cabinets, fax machine and                                 11 U.S.C. § 522(d)(5)                           1,000.00                1,000.00
copier.




                                                                                                     Total:                33,413.78                361,288.78
 Sheet      1     of     1     continuation sheets attached to the Schedule of Property Claimed as Exempt
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   In re          Richard F Greenlaw                                                                                             Case No.
                                                                                                                    ,
                                                                                                   Debtor

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                              C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                 O                                                              O    N   I
                                                              D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                               B   W           NATURE OF LIEN, AND                            I    Q   U                      PORTION, IF
                                                              T   J         DESCRIPTION AND VALUE                            N    U   T
                                                                                                                                             DEDUCTING
           AND ACCOUNT NUMBER                                 O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                  C                OF PROPERTY
                                                              R
                                                                                SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No. xxxxx8373                                                 Opened 1/01/05 Last Active 6/01/10                          E
                                                                                                                                  D

BAC Home Loans Servicing                                              First Mortgage
450 American Street
                                                                    Debtor's primary residence.
Simi Valley, CA 93065
                                                                  - 41 Wellington Road
                                                                    East Brunswick, New Jersey 08816-1720
                                                                       Value $                              349,500.00                        116,591.00                   0.00
Account No. xxxxxx1766                                                Opened 10/01/96 Last Active 12/03/09

Wells Fargo Home Mortgage                                             Second Mortgage
PO Box 10335
                                                                    Debtor's primary residence.
Des Moines, IA 50306
                                                                  - 41 Wellington Road
                                                                    East Brunswick, New Jersey 08816-1720
                                                                       Value $                              349,500.00                         25,430.00                   0.00
Account No.




                                                                       Value $
Account No.




                                                                       Value $
                                                                                                                          Subtotal
 0
_____ continuation sheets attached                                                                                                            142,021.00                   0.00
                                                                                                                 (Total of this page)
                                                                                                                           Total              142,021.00                   0.00
                                                                                                 (Report on Summary of Schedules)

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  In re          Richard F Greenlaw                                                                                                Case No.
                                                                                                                      ,
                                                                                                  Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                2          continuation sheets attached
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   In re          Richard F Greenlaw                                                                                           Case No.
                                                                                                                  ,
                                                                                                   Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                        (Continuation Sheet)
                                                                                                                           Taxes and Certain Other Debts
                                                                                                                            Owed to Governmental Units
                                                                                                                                        TYPE OF PRIORITY
                                                              C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                 O                                                            O    N   I                      AMOUNT NOT
                                                              D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                               B   W
                                                                           AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                           OF CLAIM
           AND ACCOUNT NUMBER                                 T   J                                                        N    U   T                                AMOUNT
                                                              O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                             R   C                                                        E    D   D
                                                                                                                           N    A
                                                                                                                                                                     PRIORITY
                                                                                                                           T    T
Account No. 3794                                                      2007                                                      E
                                                                                                                                D

Internal Revenue Service                                              Tax debt for the year of 2007.
PO Box 37004                                                                                                                                               0.00
Hartford, CT 06176-0004
                                                                  -

                                                                                                                                               5,628.00              5,628.00
Account No. 3794                                                      2008

Internal Revenue Service                                              Tax debt for the year of 2008.
PO Box 37004                                                                                                                                               0.00
Hartford, CT 06176-0004
                                                                  -

                                                                                                                                              11,231.00            11,231.00
Account No. 3794                                                      2009

Internal Revenue Service                                              Tax debt for the year of 2009.
PO Box 37004                                                                                                                                               1,635.00
Hartford, CT 06176-0004
                                                                  -

                                                                                                                                              16,135.00            14,500.00
Account No. 3794                                                      2007

State of New Jeresy                                                   Tax debt for the year of 2007.
Gross Income Tax                                                                                                                                           0.00
PO Box 046
                                                                  -
Trenton, NJ 08646-0046

                                                                                                                                                  49.72                  49.72
Account No. 3794                                                      2008

State of New Jeresy                                                   Tax debt for the year of 2008.
Gross Income Tax                                                                                                                                           0.00
PO Box 046
                                                                  -
Trenton, NJ 08646-0046

                                                                                                                                               2,768.00              2,768.00
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                                   Subtotal                           1,635.00
Schedule of Creditors Holding Unsecured Priority Claims                                                        (Total of this page)           35,811.72            34,176.72




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   In re          Richard F Greenlaw                                                                                           Case No.
                                                                                                                  ,
                                                                                                   Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                        (Continuation Sheet)
                                                                                                                           Taxes and Certain Other Debts
                                                                                                                            Owed to Governmental Units
                                                                                                                                        TYPE OF PRIORITY
                                                              C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                 O                                                            O    N   I                      AMOUNT NOT
                                                              D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                               B   W
                                                                           AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                           OF CLAIM
           AND ACCOUNT NUMBER                                 T   J                                                        N    U   T                                AMOUNT
                                                              O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                             R   C                                                        E    D   D
                                                                                                                           N    A
                                                                                                                                                                     PRIORITY
                                                                                                                           T    T
Account No. 3794                                                      2009                                                      E
                                                                                                                                D

State of New Jeresy                                                   Tax debt for the year of 2009.
Gross Income Tax                                                                                                                                           0.00
PO Box 046
                                                                  -
Trenton, NJ 08646-0046

                                                                                                                                               3,885.00               3,885.00
Account No.




Account No.




Account No.




Account No.




       2
Sheet _____    2
            of _____  continuation sheets attached to                                                                   Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                        (Total of this page)            3,885.00               3,885.00
                                                                                                                           Total                           1,635.00
                                                                                                 (Report on Summary of Schedules)             39,696.72           38,061.72

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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                            C   Husband, Wife, Joint, or Community                          C   U   D
                    CREDITOR'S NAME,                                        O                                                               O   N   I
                    MAILING ADDRESS                                         D   H                                                           N   L   S
                  INCLUDING ZIP CODE,                                       E                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                W
                 AND ACCOUNT NUMBER
                                                                            B               CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                            T   J                                                           N   U   T
                                                                            O                 IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                R
                                                                                C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                         Services provided to Debtor's business.                 T   T
                                                                                                                                                E
                                                                                                                                                D

10 Fingers Ink
Eight Hummingbird Court                                                     X -                                                             X
Marlboro, NJ 07746

                                                                                                                                                                       6,000.00
Account No. xxxxxx7398                                                              Opened 12/01/09
                                                                                    Collection agency attempting to collect for
Afni, Inc.                                                                          original creditor: Verizon, Inc.
Attn: DP Recovery Support                                                       -                                                                   X
PO Box 3427
Bloomington, IL 61702
                                                                                                                                                                         243.00
Account No. xxxxxx2289                                                              Opened 1/01/10
                                                                                    Collection agency attempting to collect for
Afni, Inc.                                                                          original creditor: Verizon, Inc.
Attn: DP Recovery Support                                                       -                                                                   X
PO Box 3427
Bloomington, IL 61702
                                                                                                                                                                         178.00
Account No.                                                                         Services provided to Debtor's business.

Alpha Graphics
401 Jersey Avenue                                                               -                                                           X
New Brunswick, NJ 08901

                                                                                                                                                                         561.75

                                                                                                                                        Subtotal
 19 continuation sheets attached
_____                                                                                                                                                                  6,982.75
                                                                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. xxxxxxxxxxxx8073                                                        Opened 10/28/81 Last Active 6/21/07                     E
                                                                                    Credit card purchases; interest and fees.               D

American Express
c/o Becket and Lee LLP                                                          -
PO Box 3001
Malvern, PA 19355
                                                                                                                                                                7,639.00
Account No. xxxxxxxxxxxx2153                                                        Opened 1/23/81 Last Active 6/15/07
                                                                                    Credit card purchases; interest and fees.
American Express
c/o Becket and Lee LLP                                                          -
PO Box 3001
Malvern, PA 19355
                                                                                                                                                                5,278.00
Account No. xxxxxxxxxxxx7733                                                        Opened 12/27/81 Last Active 6/15/07
                                                                                    Credit card purchases; interest and fees.
American Express
c/o Becket and Lee LLP                                                          -
PO Box 3001
Malvern, PA 19355
                                                                                                                                                                2,567.00
Account No.

Andrew and Jennifer Fleischer
908 Plattner Court                                                          X -                                                         X       X
Annapolis, MD 21401

                                                                                                                                                               Unknown
Account No. xxxx9343                                                                Opened 9/01/07 Last Active 6/30/08
                                                                                    Collection agency attempting to collect for
Arrow Financial Services                                                            original creditor: HSBC Bank Nevada, N.A.
5996 West Touhy Avenue                                                          -                                                               X
Niles, IL 60714

                                                                                                                                                                1,748.00

           1
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                              17,232.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                         Lawn service provided to Debtor.                        E
                                                                                                                                            D

Aspen Environmental Services
2227 US Highway 1                                                               -
Suite 268
North Brunswick, NJ 08902
                                                                                                                                                                  832.11
Account No.                                                                         Medical treatment to Debtor.

Associates in Pschological Services
25 North Doughty Avenue                                                         -
Somerville, NJ 08876

                                                                                                                                                                  650.00
Account No. xxxx6566                                                                Opened 4/02/93 Last Active 10/26/07
                                                                                    Utilities provided to Debtor.
At&t Credit Management
At&T Credit Management Center                                                   -
PO Box 80701
Charleston, SC 29416
                                                                                                                                                                    36.00
Account No.                                                                         Utilities provided to Debtor.

AT&T Mobility
c/o Nationwide Recovery Systems                                                 -
2304 Tarpley Drive
Suite 134
Carrollton, TX 75006                                                                                                                                              606.02
Account No.                                                                         Medical treatment to Debtor.

Baldassano Dermato Pathology
828 Creekview Drive                                                             -
Blue Bell, PA 19422

                                                                                                                                                                    32.57

           2
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                2,156.70
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. xxxxxxxxxx4199                                                          Opened 7/01/01 Last Active 11/30/09                     E
                                                                                    Check of line of credit.                                D

Bank of America
Attn: Bankruptcy NC4-105-02-77                                                  -
PO Box 26012
Greensboro, NC 27410
                                                                                                                                                                3,978.00
Account No.                                                                         Business debt.

Bank of America
70 Batterson Park Road                                                      X -                                                         X
Farmington, CT 06032

                                                                                                                                                                3,000.00
Account No. 0308                                                                    Checking Account - Negative Balance

Bank of America
PO Box 25118                                                                    -
Tampa, FL 33622-5118

                                                                                                                                                                  594.74
Account No.                                                                         Business line of credit.

Bank of America Business
PO Box 2864                                                                     -                                                       X
Hartford, CT 06101

                                                                                                                                                              82,132.00
Account No.

Beth Sarsfield
1084 Oakcroft Lane                                                          X -                                                         X       X
Somerset, NJ 08873

                                                                                                                                                               Unknown

           3
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                              89,704.74
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                         Auto service provided to Debtor.                        E
                                                                                                                                            D

BP Metuchen Service Center
Route 27 & Lake Avenue                                                          -
Metuchen, NJ 08840

                                                                                                                                                                  456.00
Account No.                                                                         Services provided to Debtor's business.

Camino Graphic Design
38 Colony Road                                                              X -                                                         X
Lexington, MA 02420

                                                                                                                                                                2,500.00
Account No.                                                                         Medical treatment provided to Debtor.

Cardiology Associates
593 Cranbury Road                                                               -
East Brunswick, NJ 08816

                                                                                                                                                                    79.09
Account No.                                                                         Collection agency attempting to collect for
                                                                                    original creditor: FIA Card Services.
Cenlar
c/o FIA Card Services                                                           -                                                               X
PO Box 15137
Wilmington, DE 19850
                                                                                                                                                                  686.00
Account No. xxxxxxxx4021                                                            Opened 10/01/85 Last Active 7/13/08
                                                                                    Credit card purchases; interest and fees.
Chase
PO Box 15298                                                                    -
Wilmington, DE 19850

                                                                                                                                                              14,959.00

           4
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                              18,680.09
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. xxxxxxxx0417                                                            Opened 2/01/91 Last Active 7/29/08                      E
                                                                                    Credit card purchases; interest and fees.               D

Chase
PO Box 15298                                                                    -
Wilmington, DE 19850

                                                                                                                                                                8,007.00
Account No.                                                                         Credit card purchases; interest and fees.

Chase Bank
PO Box 15548                                                                    -
Wilmington, DE 19886

                                                                                                                                                                  881.00
Account No.                                                                         Services provided to Debtor's business.
                                                                                    Docket No.: SC-001460-10
Christies Messenger Service, Inc.
12 South Plainfield Avenue                                                  X -                                                         X
South Plainfield, NJ 07080

                                                                                                                                                                  100.00
Account No.                                                                         Collection agency attempting to collect for
                                                                                    original creditor: Citibank.
Citibank
c/o NCO Financial Systems                                                       -                                                               X
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                                  887.05
Account No. xxxxxxxx3428                                                            Opened 10/01/85 Last Active 5/17/10
                                                                                    Credit card purchases; interest and fees.
Citibank S.D., N.A.
Attn: Centralized Bankruptcy                                                    -
PO Box 20507
Kansas City, MO 64195
                                                                                                                                                               Unknown

           5
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                9,875.05
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                         Collection Attorneys for original creditor:             E
                                                                                    Citibank, (South Dakota), N.A.                          D

Citibank, S.D., N.A.                                                                Docket No.: DC-018046-09.
Faloni & Associates, LLC                                                        -                                                               X
165 Passaic Avenue
Suite 301B
Fairfield, NJ 07004                                                                                                                                             4,110.84
Account No.                                                                         Business debt - parking violations.

City of Philadelphia
PO Box 41819                                                                    -                                                       X
Philadelphia, PA 19101

                                                                                                                                                                  156.00
Account No. xxxx8814                                                                Opened 5/01/10
                                                                                    Collection agency attempting to collect for
Creditone, LLC                                                                      original creditor: Wells Fargo Bank.
PO Box 625                                                                      -                                                               X
Metairie, LA 70004

                                                                                                                                                                4,397.00
Account No.                                                                         Busines debt.

David Levine
501 East 78th Street                                                        X -                                                         X
New York, NY 10075

                                                                                                                                                                1,850.00
Account No.                                                                         Business debt.

David Luce
c/o Bravado Consulting, Inc.                                                X -                                                         X
810 North Folk Landing Road
Maple Shade, NJ 08052
                                                                                                                                                                  350.00

           6
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                              10,863.84
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                         Collection agency attempting to collect for             E
                                                                                    original creditor: Deparment Store National             D

Department Store National Bank                                                      Bank.
c/o Plaza Associates                                                            -                                                               X
307 7th Avenue
New York, NY 10001
                                                                                                                                                                  635.18
Account No. xxxxxxxx9007                                                            Opened 8/01/91 Last Active 5/12/10
                                                                                    Credit card purchases; interest and fees.
Discover Financial Services
Attention: Bankruptcy Department                                                -
PO Box 3025
New Albany, OH 43054
                                                                                                                                                               Unknown
Account No.                                                                         Business debt. (Doctor wrote for company.)

Dr. Patricia Bennett
59 Main Street                                                              X -
Suite 350
West Orange, NJ 07052
                                                                                                                                                                6,000.00
Account No. xxxxx0655                                                               Opened 4/01/09 Last Active 6/30/10
                                                                                    Installment loan.
Dyck Oneal Inc.
15301 Spectrum Drive                                                            -
Addison, TX 75001

                                                                                                                                                              13,765.00
Account No.                                                                         Collection agency attempting to collect for
                                                                                    original creditor: Edison Metuchen
Edison Metuchen Orthpedics                                                          Orthpedics.
c/o Northeast Assest Recovery, Inc.                                             -                                                               X
PO Box 209
Thornwood, NY 10594
                                                                                                                                                                  185.00

           7
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                              20,585.18
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                         Personal loan.                                          E
                                                                                                                                            D

Edward Wilkens
20 Innes Road                                                                   -
East Brunswick, NJ 08816

                                                                                                                                                                4,000.00
Account No.

Edward Wilkens
20 Innes Road                                                               X -                                                         X       X
East Brunswick, NJ 08816

                                                                                                                                                               Unknown
Account No.

Eugene & Susan Kaczmarek
17 Timothy Lane                                                             X -                                                         X       X
East Brunswick, NJ 08816

                                                                                                                                                               Unknown
Account No.

EZ Pass
PO Box 52002                                                                    -
Newark, NJ 07101-8202

                                                                                                                                                                    10.00
Account No.                                                                         Business debt.

Federal Express
c/o American Bureau of Collections                                          X -                                                         X
110 Main Street
Buffalo, NY 14209
                                                                                                                                                                1,126.72

           8
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                5,136.72
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                         Business debt.                                          E
                                                                                                                                            D

Federal Express
c/o Amalgamated Financial                                                   X -                                                         X
PO Box 1006
105 Whiteoak Lane
Neshanic Station, NJ 08853                                                                                                                                          26.76
Account No.

Glenn & Deborah Sandberg
Two Perry Road                                                              X -                                                         X       X
East Brunswick, NJ 08816

                                                                                                                                                               Unknown
Account No.

Gloria Smutko
17 Fifth Street                                                             X -                                                         X       X
South River, NJ 08882

                                                                                                                                                               Unknown
Account No.                                                                         Business debt.

GV Cerv Communications
705 Marion Road                                                             X -                                                         X
Neptune, NJ 07753

                                                                                                                                                                7,000.00
Account No.                                                                         Business debt.

Hayman Consulting, LLC
457 North Woodburn Road                                                     X -
Langhorne, PA 19047

                                                                                                                                                                  125.00

           9
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                7,151.76
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                         Collection Attorneys for original creditor:             E
                                                                                    HSBC Bank Nevada, N.A.                                  D

Hayt, Hayt & Landau, LLC
Two Industrial Way Street                                                       -
PO Box 500
Eatontown, NJ
                                                                                                                                                              30,434.59
Account No.                                                                         Collection agency attempting to collect for
                                                                                    original creditor: Horizon Blue Cross Blue
Horizon Blue Cross Blue Shield of NJ                                                Shield.
c/o Morgan Bornstein                                                            -
1236 Brace Road
Cherry Hill, NJ 08034
                                                                                                                                                                1,285.82
Account No. xxxxxxxxxxxx9514                                                        Opened 2/01/91 Last Active 5/11/10
                                                                                    Credit card purchases; interest and fees.
HSBC Platnum
PO Box 5253                                                                     -
Carol Stream, IL 60197

                                                                                                                                                                8,797.00
Account No. xxxxxx5001                                                              Opened 6/01/08
                                                                                    Collection agency attempting to collect for
I C System, Inc.                                                                    original creditor: Drs. Everitt and Maisel.
PO Box 64378                                                                    -
Saint Paul, MN 55164

                                                                                                                                                                  460.00
Account No. xxxxx88N1                                                             Opened 10/01/09 Last Active 3/18/10
                                                                                  Collection agency attempting to collect for
Independent Recovery Resoruces                                                    original creditor: Center For Asthma And
24 Railroad Avenue                                                              - Allergy.                                                      X
Patchogue, NY 11772

                                                                                                                                                                  116.00

           10 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                              41,093.41
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                         Business debt.                                          E
                                                                                                                                            D

J. Richard Trout, PhD
1698 Meetinghouse Lane                                                      X -                                                         X
Morrisville, PA 19067

                                                                                                                                                                2,750.00
Account No.

Jack Pasini
4280 Galt Ocean Drive                                                       X -                                                         X       X
Fort Lauderdale, FL 33308

                                                                                                                                                               Unknown
Account No.

James & Beth Knox
232 Oak Street                                                              X -                                                         X       X
South Amboy, NJ 08879

                                                                                                                                                               Unknown
Account No.

James & Dolores Arace
c/o Chas K. Graber, Esq.                                                    X -                                                         X       X
King of Prussia, PA 19406

                                                                                                                                                               Unknown
Account No.                                                                         Personal loan.

Joel Palmer
701 South 9th Street                                                            -
Philadelphia, PA 19147-2005

                                                                                                                                                                1,500.00

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Sheet no. _____    19 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                4,250.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

Joerg P. Hermans
36 Scott Road                                                               X -                                                         X       X
Harvard, MA 01451

                                                                                                                                                               Unknown
Account No.                                                                         Services provided to Debtor.

John Asch Contracting
Two Morris Court                                                                -
East Brunswick, NJ 08816

                                                                                                                                                                3,300.00
Account No.                                                                         Business debt.

Julia Schroeder
1316 Rutland Lane                                                           X -                                                         X
Wynnewood, PA 19096

                                                                                                                                                                      0.00
Account No.                                                                         Personal loan.

Karen Tormey
672 Frayne Street                                                               -
Pittsburgh, PA 15207

                                                                                                                                                                1,250.00
Account No.                                                                         Business debt.

Katherine Hassel
Asset Recovery Group                                                        X -                                                         X
11856 Balboa Boulevard
Granada Hills, CA 91344
                                                                                                                                                                4,262.25

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Sheet no. _____    19 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                8,812.25
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

Kay E. Sicknick
14 Lisa Drive                                                               X -                                                         X       X
South River, NJ 08882

                                                                                                                                                               Unknown
Account No. xx145-2                                                                 Collection Attorneys for original creditor: LBC
                                                                                    Communications.
LBC Communications, Inc.                                                            Docket No.: DC-014394-10
c/o Ansell Grimm & Aaron, P.C.                                              X -                                                         X
1500 Lawrence Avenue
CN7807
Ocean, NJ 07712                                                                                                                                                 8,332.66
Account No. xxxxxxxxx8820                                                           Opened 7/01/97 Last Active 2/17/10
                                                                                    Credit card purchases; interest and fees.
Macy's/FDSB
Macy's Bankruptcy                                                               -
PO Box 8053
Mason, OH 45040
                                                                                                                                                                  660.00
Account No.

Marge & Nancy Wavrica
16 Manton Avenue                                                            X -                                                         X       X
East Brunswick, NJ 08816

                                                                                                                                                               Unknown
Account No.                                                                         Business debt.

Mariano Press
14 Veronica Avenue                                                          X -                                                         X
Somerset, NJ 08877

                                                                                                                                                                  535.00

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Sheet no. _____    19 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                9,527.66
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

Martha Brumfield, PhD
400 East 85th Street                                                        X -                                                         X       X
17D
New York, NY 10128
                                                                                                                                                               Unknown
Account No.                                                                         Business debt.

MC Communications Inc.
c/o Doremus and Roesler                                                     X -                                                         X
PO Box 45
Burlington, VT 05401
                                                                                                                                                              16,100.00
Account No.                                                                         Services provided to Debtor.

Merry Maids
665 New Brunswick Avenue                                                    X -                                                         X
Perth Amboy, NJ 08861

                                                                                                                                                                  400.44
Account No.                                                                         Collection Attorneys for original creditor: Metri
                                                                                    Anesthesia Consultants.
Metro Anesthesia Consultants                                                        Docket No.: DC-014210-10.
c/o Raymond Meisenbacher & Sons,                                                -                                                               X
Esqs.
739 East Main Street
Bridgewater, NJ 08807                                                                                                                                           2,520.00
Account No.                                                                         Personal loan.

Michael & Kim Hollifield
308 Fairfield Avenue                                                            -
Dunellen, NJ 08812

                                                                                                                                                              10,000.00

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Sheet no. _____    19 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                              29,020.44
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

Michael Marosy
Sharon Reilly-Marosy                                                        X -                                                         X       X
15 Huntington Road
East Brunswick, NJ 08816
                                                                                                                                                               Unknown
Account No.                                                                         Services provided to Debtor's business.

OfficeMax
263 Shuman Boulevard                                                        X -                                                         X
Naperville, IL 60563

                                                                                                                                                                2,096.00
Account No.

Orest Harasymczuk
577 Windsong Drive                                                          X -                                                         X       X
Aberdeen, MD 21001

                                                                                                                                                               Unknown
Account No.                                                                         Business debt.

Palmer, Lugo and Olea
5353 North Federal Highway                                                  X -                                                         X
Fort Lauderdale, FL 33308

                                                                                                                                                                8,437.00
Account No.                                                                         Business debt.

Patricia C. Walter
3183 Weston Street                                                          X -                                                         X
Philadelphia, PA 19136-1811

                                                                                                                                                                4,955.74

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Sheet no. _____    19 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                              15,488.74
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                         Business debt.                                          E
                                                                                                                                            D

Perter Panasis
21 Westminster Boulevard                                                    X -                                                         X
South Amboy, NJ 08879

                                                                                                                                                                1,650.00
Account No.                                                                         Services provided to Debtor's business.
                                                                                    Docket No.: SC-3044-09.
Peter Luongo
4248 River Green Drive                                                      X -                                                         X
No. 311
Atlanta, GA 30327
                                                                                                                                                                3,022.00
Account No.                                                                         Collection Attorneys for original creditor:
                                                                                    Discover Bank.
Pressler and Pressler, L.L.P.                                                       Docket No.: DC-016207-09.
Counselors at Law                                                               -
7 Entin Road
Parsippany, NJ 07054-5020
                                                                                                                                                              11,759.05
Account No.

Richard Zielinski
21 South Woodland Avenue                                                    X -                                                         X       X
East Brunswick, NJ 08816

                                                                                                                                                               Unknown
Account No.

Robert J. Sullivan
17 Overland Road                                                            X -                                                         X       X
East Brunswick, NJ 08816

                                                                                                                                                               Unknown

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Sheet no. _____    19 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                              16,431.05
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                         Business debt.                                          E
                                                                                                                                            D

Robert W. Rhoades, Inc.
2400 Clubhouse Road                                                         X -                                                         X
Steamboat Springs, CO 80477

                                                                                                                                                                5,950.00
Account No.                                                                         Business debt.

Rochdale Insurance Co.
555 North Pleasantburg Drive                                                X -                                                         X
Greenville, SC 29607

                                                                                                                                                                  389.00
Account No.                                                                         Medical treatment provided to Debtor.

Roger Maitland, PhD
Nine Rutgers Street                                                             -
Edison, NJ 08817

                                                                                                                                                                6,000.00
Account No.

Ron Moreau
c/o Can Corp or America                                                     X -                                                         X       X
326 June Avenue
Blandon, PA 19510
                                                                                                                                                               Unknown
Account No.

Roy H. & Joan A. Deboer
11 Watchung Road                                                            X -                                                         X       X
East Brunswick, NJ 08816

                                                                                                                                                               Unknown

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Sheet no. _____    19 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                              12,339.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. xxxxxxxx7440                                                            Opened 6/01/78 Last Active 7/12/10                      E
                                                                                    Credit card purchases; interest and fees.               D

Sears/Citibank, S.D.
PO Box 6189                                                                     -
Sioux Falls, SD 57117

                                                                                                                                                                2,908.00
Account No.                                                                         Business debt.

SLM Consulting
303 White Swan Way                                                          X -                                                         X
Langhorne, PA 19047

                                                                                                                                                                7,500.00
Account No.                                                                         Business debt.

Stewart Business Systems
4365 US Highway 1                                                           X -                                                         X
Princeton, NJ 08540

                                                                                                                                                                  106.00
Account No.

Susan M. Fehrer
115 Orchard Avenue                                                          X -                                                         X       X
Hightstown, NJ 08520

                                                                                                                                                               Unknown
Account No.                                                                         Construction services provided to Debtor.

Thomas O'Brien Construction
204 A Wilton Avenue                                                             -
Middlesex, NJ 08846

                                                                                                                                                                  250.00

           18 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                              10,764.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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                 Case 10-40400-KCF                           Doc 1          Filed 09/30/10 Entered 09/30/10 16:29:42                                   Desc Main
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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Richard F Greenlaw                                                                                           Case No.
                                                                                                                      ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                        O                                                                  O   N   I
                    MAILING ADDRESS                                         D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND                      T   I   P
                                                                            B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM                  N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.                  G   I   E
                   (See instructions above.)                                R                                                                  E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                                                                                        E
                                                                                                                                                   D

Todd B. Bates
1037 Hoover Drive                                                           X -                                                                X       X
North Brunswick, NJ 08902

                                                                                                                                                                      Unknown
Account No.                                                                         Collection Attorneys for original creditor:
                                                                                    Verizon Business.
Verizon Busiess
c/o Solomon and Solomon                                                     X -                                                                X
Five Columbia Circle
Albany, NY 12212
                                                                                                                                                                         736.42
Account No.                                                                         Legal services provided to Debtor and
                                                                                    Debtor's business.
W. Thomas McDonough, Esq.
363 Bloomfield Avenue                                                       X -
Montclair, NJ 07042

                                                                                                                                                                       2,500.00
Account No.

William & Cynthia Cook
179 Exeter Street                                                           X -                                                                X       X
Highland Park, NJ 08904

                                                                                                                                                                      Unknown
Account No.

William B. Arfken
87 Lori Street                                                              X -                                                                X       X
Monroe Township, NJ 08831

                                                                                                                                                                      Unknown

           19 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                                         Subtotal
                                                                                                                                                                       3,236.42
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)
                                                                                                                                               Total
                                                                                                                     (Report on Summary of Schedules)              339,331.80


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B6G (Official Form 6G) (12/07)


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  In re             Richard F Greenlaw                                                                                Case No.
                                                                                                           ,
                                                                                           Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                            Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                       State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          Richard F Greenlaw                                                                              Case No.
                                                                                                         ,
                                                                                           Debtor

                                                                    SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                                NAME AND ADDRESS OF CREDITOR

                  Aesulapius Communications, Inc.                                             Christies Messenger Service, Inc.
                  41 Wellington Road                                                          12 South Plainfield Avenue
                  East Brunswick, NJ 08816                                                    South Plainfield, NJ 07080

                  Aesulapius Communications, Inc.                                             Dr. Patricia Bennett
                  41 Wellington Road                                                          59 Main Street
                  East Brunswick, NJ 08816                                                    Suite 350
                                                                                              West Orange, NJ 07052

                  Aesulapius Communications, Inc.                                             LBC Communications, Inc.
                  41 Wellington Road                                                          c/o Ansell Grimm & Aaron, P.C.
                  East Brunswick, NJ 08816                                                    1500 Lawrence Avenue
                                                                                              CN7807
                                                                                              Ocean, NJ 07712

                  Aesulapius Communications, Inc.                                             W. Thomas McDonough, Esq.
                  41 Wellington Road                                                          363 Bloomfield Avenue
                  East Brunswick, NJ 08816                                                    Montclair, NJ 07042

                  Aesulapius Communications, Inc.                                             Peter Luongo
                  41 Wellington Road                                                          4248 River Green Drive
                  East Brunswick, NJ 08816                                                    No. 311
                                                                                              Atlanta, GA 30327

                  Aesulapius Communications, Inc.                                             10 Fingers Ink
                  41 Wellington Road                                                          Eight Hummingbird Court
                  East Brunswick, NJ 08816                                                    Marlboro, NJ 07746

                  Aesulapius Communications, Inc.                                             OfficeMax
                  41 Wellington Road                                                          263 Shuman Boulevard
                  East Brunswick, NJ 08816                                                    Naperville, IL 60563

                  Aesulapius Communications, Inc.                                             Merry Maids
                  41 Wellington Road                                                          665 New Brunswick Avenue
                  East Brunswick, NJ 08816                                                    Perth Amboy, NJ 08861

                  Aesulapius Communications, Inc.                                             Camino Graphic Design
                  41 Wellington Road                                                          38 Colony Road
                  East Brunswick, NJ 08816                                                    Lexington, MA 02420

                  Aesulapius Communications, Inc.                                             Bank of America
                  41 Wellington Road                                                          70 Batterson Park Road
                  East Brunswick, NJ 08816                                                    Farmington, CT 06032

                  Aesulapius Communications, Inc.                                             David Levine
                  41 Wellington Road                                                          501 East 78th Street
                  East Brunswick, NJ 08816                                                    New York, NY 10075



       4
               continuation sheets attached to Schedule of Codebtors
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  In re          Richard F Greenlaw                                                                                   Case No.
                                                                                                              ,
                                                                                                Debtor

                                                                    SCHEDULE H - CODEBTORS
                                                                                       (Continuation Sheet)


                   NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR


                   Aesulapius Communications, Inc.                                                  David Luce
                   41 Wellington Road                                                               c/o Bravado Consulting, Inc.
                   East Brunswick, NJ 08816                                                         810 North Folk Landing Road
                                                                                                    Maple Shade, NJ 08052

                   Aesulapius Communications, Inc.                                                  Federal Express
                   41 Wellington Road                                                               c/o American Bureau of Collections
                   East Brunswick, NJ 08816                                                         110 Main Street
                                                                                                    Buffalo, NY 14209

                   Aesulapius Communications, Inc.                                                  Federal Express
                   41 Wellington Road                                                               c/o Amalgamated Financial
                   East Brunswick, NJ 08816                                                         PO Box 1006
                                                                                                    105 Whiteoak Lane
                                                                                                    Neshanic Station, NJ 08853

                   Aesulapius Communications, Inc.                                                  GV Cerv Communications
                   41 Wellington Road                                                               705 Marion Road
                   East Brunswick, NJ 08816                                                         Neptune, NJ 07753

                   Aesulapius Communications, Inc.                                                  Hayman Consulting, LLC
                   41 Wellington Road                                                               457 North Woodburn Road
                   East Brunswick, NJ 08816                                                         Langhorne, PA 19047

                   Aesulapius Communications, Inc.                                                  J. Richard Trout, PhD
                   41 Wellington Road                                                               1698 Meetinghouse Lane
                   East Brunswick, NJ 08816                                                         Morrisville, PA 19067

                   Aesulapius Communications, Inc.                                                  Julia Schroeder
                   41 Wellington Road                                                               1316 Rutland Lane
                   East Brunswick, NJ 08816                                                         Wynnewood, PA 19096

                   Aesulapius Communications, Inc.                                                  Katherine Hassel
                   41 Wellington Road                                                               Asset Recovery Group
                   East Brunswick, NJ 08816                                                         11856 Balboa Boulevard
                                                                                                    Granada Hills, CA 91344

                   Aesulapius Communications, Inc.                                                  Mariano Press
                   41 Wellington Road                                                               14 Veronica Avenue
                   East Brunswick, NJ 08816                                                         Somerset, NJ 08877

                   Aesulapius Communications, Inc.                                                  Patricia C. Walter
                   41 Wellington Road                                                               3183 Weston Street
                   East Brunswick, NJ 08816                                                         Philadelphia, PA 19136-1811

                   Aesulapius Communications, Inc.                                                  MC Communications Inc.
                   41 Wellington Road                                                               c/o Doremus and Roesler
                   East Brunswick, NJ 08816                                                         PO Box 45
                                                                                                    Burlington, VT 05401

                   Aesulapius Communications, Inc.                                                  Palmer, Lugo and Olea
                   41 Wellington Road                                                               5353 North Federal Highway
                   East Brunswick, NJ 08816                                                         Fort Lauderdale, FL 33308



     Sheet     1      of 4         continuation sheets attached to the Schedule of Codebtors

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  In re          Richard F Greenlaw                                                                                   Case No.
                                                                                                              ,
                                                                                                Debtor

                                                                    SCHEDULE H - CODEBTORS
                                                                                       (Continuation Sheet)


                   NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR


                   Aesulapius Communications, Inc.                                                  Perter Panasis
                   41 Wellington Road                                                               21 Westminster Boulevard
                   East Brunswick, NJ 08816                                                         South Amboy, NJ 08879

                   Aesulapius Communications, Inc.                                                  Robert W. Rhoades, Inc.
                   41 Wellington Road                                                               2400 Clubhouse Road
                   East Brunswick, NJ 08816                                                         Steamboat Springs, CO 80477

                   Aesulapius Communications, Inc.                                                  Rochdale Insurance Co.
                   41 Wellington Road                                                               555 North Pleasantburg Drive
                   East Brunswick, NJ 08816                                                         Greenville, SC 29607

                   Aesulapius Communications, Inc.                                                  SLM Consulting
                   41 Wellington Road                                                               303 White Swan Way
                   East Brunswick, NJ 08816                                                         Langhorne, PA 19047

                   Aesulapius Communications, Inc.                                                  Stewart Business Systems
                   41 Wellington Road                                                               4365 US Highway 1
                   East Brunswick, NJ 08816                                                         Princeton, NJ 08540

                   Aesulapius Communications, Inc.                                                  Verizon Busiess
                   41 Wellington Road                                                               c/o Solomon and Solomon
                   East Brunswick, NJ 08816                                                         Five Columbia Circle
                                                                                                    Albany, NY 12212

                   Aesulapius Communications, Inc.                                                  Todd B. Bates
                   41 Wellington Road                                                               1037 Hoover Drive
                   East Brunswick, NJ 08816                                                         North Brunswick, NJ 08902

                   Aesulapius Communications, Inc.                                                  Andrew and Jennifer Fleischer
                   41 Wellington Road                                                               908 Plattner Court
                   East Brunswick, NJ 08816                                                         Annapolis, MD 21401

                   Aesulapius Communications, Inc.                                                  James & Beth Knox
                   41 Wellington Road                                                               232 Oak Street
                   East Brunswick, NJ 08816                                                         South Amboy, NJ 08879

                   Aesulapius Communications, Inc.                                                  Beth Sarsfield
                   41 Wellington Road                                                               1084 Oakcroft Lane
                   East Brunswick, NJ 08816                                                         Somerset, NJ 08873

                   Aesulapius Communications, Inc.                                                  Edward Wilkens
                   41 Wellington Road                                                               20 Innes Road
                   East Brunswick, NJ 08816                                                         East Brunswick, NJ 08816

                   Aesulapius Communications, Inc.                                                  Eugene & Susan Kaczmarek
                   41 Wellington Road                                                               17 Timothy Lane
                   East Brunswick, NJ 08816                                                         East Brunswick, NJ 08816

                   Aesulapius Communications, Inc.                                                  Glenn & Deborah Sandberg
                   41 Wellington Road                                                               Two Perry Road
                   East Brunswick, NJ 08816                                                         East Brunswick, NJ 08816




     Sheet     2      of 4         continuation sheets attached to the Schedule of Codebtors

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  In re          Richard F Greenlaw                                                                                     Case No.
                                                                                                              ,
                                                                                                Debtor

                                                                    SCHEDULE H - CODEBTORS
                                                                                       (Continuation Sheet)


                   NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR


                   Aesulapius Communications, Inc.                                                  Gloria Smutko
                   41 Wellington Road                                                               17 Fifth Street
                   East Brunswick, NJ 08816                                                         South River, NJ 08882

                   Aesulapius Communications, Inc.                                                  Jack Pasini
                   41 Wellington Road                                                               4280 Galt Ocean Drive
                   East Brunswick, NJ 08816                                                         Fort Lauderdale, FL 33308

                   Aesulapius Communications, Inc.                                                  James & Dolores Arace
                   41 Wellington Road                                                               c/o Chas K. Graber, Esq.
                   East Brunswick, NJ 08816                                                         King of Prussia, PA 19406

                   Aesulapius Communications, Inc.                                                  Joerg P. Hermans
                   41 Wellington Road                                                               36 Scott Road
                   East Brunswick, NJ 08816                                                         Harvard, MA 01451

                   Aesulapius Communications, Inc.                                                  Kay E. Sicknick
                   41 Wellington Road                                                               14 Lisa Drive
                   East Brunswick, NJ 08816                                                         South River, NJ 08882

                   Aesulapius Communications, Inc.                                                  Marge & Nancy Wavrica
                   41 Wellington Road                                                               16 Manton Avenue
                   East Brunswick, NJ 08816                                                         East Brunswick, NJ 08816

                   Aesulapius Communications, Inc.                                                  Martha Brumfield, PhD
                   41 Wellington Road                                                               400 East 85th Street
                   East Brunswick, NJ 08816                                                         17D
                                                                                                    New York, NY 10128

                   Aesulapius Communications, Inc.                                                  Michael Marosy
                   41 Wellington Road                                                               Sharon Reilly-Marosy
                   East Brunswick, NJ 08816                                                         15 Huntington Road
                                                                                                    East Brunswick, NJ 08816

                   Aesulapius Communications, Inc.                                                  Orest Harasymczuk
                   41 Wellington Road                                                               577 Windsong Drive
                   East Brunswick, NJ 08816                                                         Aberdeen, MD 21001

                   Aesulapius Communications, Inc.                                                  Richard Zielinski
                   41 Wellington Road                                                               21 South Woodland Avenue
                   East Brunswick, NJ 08816                                                         East Brunswick, NJ 08816

                   Aesulapius Communications, Inc.                                                  Robert J. Sullivan
                   41 Wellington Road                                                               17 Overland Road
                   East Brunswick, NJ 08816                                                         East Brunswick, NJ 08816

                   Aesulapius Communications, Inc.                                                  Ron Moreau
                   41 Wellington Road                                                               c/o Can Corp or America
                   East Brunswick, NJ 08816                                                         326 June Avenue
                                                                                                    Blandon, PA 19510




     Sheet     3      of 4         continuation sheets attached to the Schedule of Codebtors

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  In re          Richard F Greenlaw                                                                                   Case No.
                                                                                                              ,
                                                                                                Debtor

                                                                    SCHEDULE H - CODEBTORS
                                                                                       (Continuation Sheet)


                   NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR


                   Aesulapius Communications, Inc.                                                  Roy H. & Joan A. Deboer
                   41 Wellington Road                                                               11 Watchung Road
                   East Brunswick, NJ 08816                                                         East Brunswick, NJ 08816

                   Aesulapius Communications, Inc.                                                  Susan M. Fehrer
                   41 Wellington Road                                                               115 Orchard Avenue
                   East Brunswick, NJ 08816                                                         Hightstown, NJ 08520

                   Aesulapius Communications, Inc.                                                  William & Cynthia Cook
                   41 Wellington Road                                                               179 Exeter Street
                   East Brunswick, NJ 08816                                                         Highland Park, NJ 08904

                   Aesulapius Communications, Inc.                                                  William B. Arfken
                   41 Wellington Road                                                               87 Lori Street
                   East Brunswick, NJ 08816                                                         Monroe Township, NJ 08831




     Sheet     4      of 4         continuation sheets attached to the Schedule of Codebtors

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B6I (Official Form 6I) (12/07)

 In re    Richard F Greenlaw                                                                            Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Divorced                               None.

Employment:                                           DEBTOR                                                       SPOUSE
Occupation                          President
Name of Employer                    Aesculapius Communications, Inc.
How long employed                   14.5 years
Address of Employer                 41 Wellington Road
                                    East Brunswick, NJ 08816-1720
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                   SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $          N/A
2. Estimate monthly overtime                                                                             $          0.00          $          N/A

3. SUBTOTAL                                                                                              $             0.00       $                 N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             0.00       $                 N/A
     b. Insurance                                                                                        $             0.00       $                 N/A
     c. Union dues                                                                                       $             0.00       $                 N/A
     d. Other (Specify):                                                                                 $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             0.00       $                 N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             0.00       $                 N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $         3,000.00       $                 N/A
8. Income from real property                                                                             $             0.00       $                 N/A
9. Interest and dividends                                                                                $             0.00       $                 N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $                 N/A
11. Social security or government assistance
(Specify):           Social Security                                                                     $         1,912.00       $                 N/A
                                                                                                         $             0.00       $                 N/A
12. Pension or retirement income                                                                         $             0.00       $                 N/A
13. Other monthly income
(Specify):                                                                                               $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         4,912.00       $                 N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         4,912.00       $                 N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            4,912.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Income is based upon Debtor's six month average. Debtor does contract work for drug companies - thus the
         numbers can change.
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B6J (Official Form 6J) (12/07)

 In re    Richard F Greenlaw                                                                  Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,889.56
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                   243.00
                   b. Water and sewer                                                                       $                    90.00
                   c. Telephone                                                                             $                   100.00
                   d. Other Comcast Cable                                                                   $                   140.00
3. Home maintenance (repairs and upkeep)                                                                    $                    50.00
4. Food                                                                                                     $                   400.00
5. Clothing                                                                                                 $                    50.00
6. Laundry and dry cleaning                                                                                 $                    25.00
7. Medical and dental expenses                                                                              $                   100.00
8. Transportation (not including car payments)                                                              $                   150.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    50.00
10. Charitable contributions                                                                                $                    60.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   158.00
                   e. Other Umbrella Insurance                                                              $                     7.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other Second Mortgage                                                                 $                 1,111.82
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                 2,166.67
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 6,791.05
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 4,912.00
b. Average monthly expenses from Line 18 above                                                              $                 6,791.05
c. Monthly net income (a. minus b.)                                                                         $                -1,879.05
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B6 Declaration (Official Form 6 - Declaration). (12/07)
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                                                                 United States Bankruptcy Court
                                                                               District of New Jersey
 In re       Richard F Greenlaw                                                                                    Case No.
                                                                                          Debtor(s)                Chapter    13




                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                41
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date September 30, 2010                                                      Signature   /s/ Richard F Greenlaw
                                                                                          Richard F Greenlaw
                                                                                          Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                                United States Bankruptcy Court
                                                                              District of New Jersey
 In re       Richard F Greenlaw                                                                                Case No.
                                                                                         Debtor(s)             Chapter        13


                                                        STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                         DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                  SOURCE
                          $45,885.00                              2010 YTD: Aesculapius Communications, Inc.
                          $113,889.00                             2009: Aesculapius Communications, Inc.
                          $113,054.00                             2008: Aesculapius Communications, Inc.

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                  SOURCE


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               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                              DATES OF                                              AMOUNT STILL
       OF CREDITOR                                                                PAYMENTS                      AMOUNT PAID               OWING

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                     AMOUNT
                                                                                  DATES OF                            PAID OR
                                                                                  PAYMENTS/                         VALUE OF            AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                                  TRANSFERS                        TRANSFERS               OWING
    Citibank                                                                      3/18/2010                          $650.01              $3,957.05
    c/o Faloni Associates                                                         5/14/2010
    165 Passaic Avenue                                                            8/12/2010
    Fairfield, NJ 07004
    Citibank                                                                      3/19/2010                           $886.50                    $0.00
    c/o Faloni Associates                                                         5/14/2010
    165 Passaic Avenue                                                            7/12/2010
    Fairfield, NJ 07004
    Discover                                                                      3/23/2010                         $1,400.00             $11,759.05
    c/o Pressler & Pressler                                                       4/6/2010
    Seven Entin Road                                                              5/4/2010
    Parsippany, NJ 07054

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                    AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                                   DATE OF PAYMENT               AMOUNT PAID               OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                           NATURE OF        COURT OR AGENCY                            STATUS OR
    AND CASE NUMBER                                                           PROCEEDING       AND LOCATION                               DISPOSITION
    Discover Bank vs. Richard F. Greenlaw                                     Civil            Superior Court of New Jersey               Judgment
    Docket No.: DC-016207-09                                                                   Special Civil Part - Middlesex County
                                                                                               One Kennedy Square
                                                                                               New Brunswick, NJ 08903




*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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 CAPTION OF SUIT                                                              NATURE OF         COURT OR AGENCY                           STATUS OR
 AND CASE NUMBER                                                              PROCEEDING        AND LOCATION                              DISPOSITION
 Christies Messenger Service vs. Aesculapius                                  Civil             Superior Court of New Jersey              Pending
 Communications, Inc. & Richard Greenlaw                                                        Special Civil Part - Middlesex County
 Docket No.: SC-1460-10                                                                         56 Paterson Street
                                                                                                New Brunswick, NJ 08903
 Citibank (South Dakota), N.A. vs. Richard F.                                 Civil             Superior Court of New Jersey              Pending
 Greenlaw                                                                                       Special Civil Part - Middlesex County
 Docket No.: DC-018046-09                                                                       56 Paterson Street
                                                                                                New Brunswick, NJ 08903
 Metro Anesthesia Consultants vs. Richard                                     Civil             Superior Court of New Jersey              Pending
 Greenlaw                                                                                       Special Civil Part - Middlesex County
 Docket No.: DC-014210-10                                                                       56 Paterson Street
                                                                                                New Brunswick, NJ 08903
 Dr. Patricia Bennett vs. Richard Greenlaw &                                  Civil             Superior Court of New Jersey              Pending
 Aesculapius Communications, Inc.                                                               Special Civil Part - Middlesex County
 Docket No.: DC-002587-10                                                                       56 Paterson Street
                                                                                                New Brunswick, NJ 08903
 LBC Communications, Inc. vs. Aesculapius                                     Civil             Superior Court of New Jersey              Pending
 Communications, Inc. & Richard F. Greenlaw                                                     Special Civil Part - Middlesex County
 Docket No.: DC-014394-10                                                                       56 Paterson Street
                                                                                                New Brunswick, NJ 08903
 HSBC Bank Nevada, N.A. vs. Richard F.                                        Civil             Superior Court of New Jersey              Pending
 Greenlaw                                                                                       Special Civil Part - Middlesex County
 Docket No.: MID-L-003618-08                                                                    56 Paterson Street
                                                                                                New Brunswick, NJ 08903
 Peter M. Luongo vs. Aesculapius                                              Civil             Superior Court of New Jersey              Pending
 Communications & Richard Greenlaw                                                              Special Civil Part - Middlesex County
 Docket No.: SC-3044-09                                                                         56 Paterson Street
                                                                                                New Brunswick, NJ 08903
 Patricia C. Walter vs. Richard Greenlaw                                      Civil             Superior Court of New Jersey              Judgment
 Docket No.: DC-4042-09                                                                         Special Civil Part - Middlesex County
                                                                                                56 Paterson Street
                                                                                                New Brunswick, NJ 08903
 Citibank, S.D., N.A. vs. Richard Greenlaw                                    Civil             Superior Court of New Jersey              Settled
 Docket No.: DC-008754-09                                                                       Special Civil Part - Middlesex County
                                                                                                56 Paterson Street
                                                                                                New Brunswick, NJ 08903

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                               DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                               DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                         DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                       FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                      TRANSFER OR RETURN                  PROPERTY




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               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                         ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                 NAME AND LOCATION
 NAME AND ADDRESS                                                     OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                  CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                           RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                           DEBTOR, IF ANY                      DATE OF GIFT      VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                     DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                               LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                        BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                  DATE OF PAYMENT,                         AMOUNT OF MONEY
 NAME AND ADDRESS                                                               NAME OF PAYOR IF OTHER                 OR DESCRIPTION AND VALUE
     OF PAYEE                                                                        THAN DEBTOR                             OF PROPERTY
 Dawn R. SanFilippo, Esq. P.C.                                                  August 2010                           $3,500
 411 Pompton Avenue
 Cedar Grove, NJ 07009
 Family Guidance Center Corp.                                                   September 2010                        $50



               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                      DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                   DATE                           AND VALUE RECEIVED


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    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                             AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                       DATE(S) OF            VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                              TRANSFER(S)           IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                 TYPE OF ACCOUNT, LAST FOUR
                                                                                  DIGITS OF ACCOUNT NUMBER,             AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                AND AMOUNT OF FINAL BALANCE                       OR CLOSING
 Bank of America                                                                Regular Checking Act. No. 0308          July 2010
 PO Box 25118                                                                   Balance - $0.00
 Tampa, FL 33622-5118

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                             NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                    OF THOSE WITH ACCESS                    DESCRIPTION                DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                        TO BOX OR DEPOSITORY                    OF CONTENTS                 SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                   DATE OF SETOFF                          AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                   DESCRIPTION AND VALUE OF PROPERTY              LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                        NAME USED                               DATES OF OCCUPANCY




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               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                             NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                   NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                             NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                   NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                              DOCKET NUMBER                          STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.




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                                    LAST FOUR DIGITS OF
                                    SOCIAL-SECURITY OR
                                    OTHER INDIVIDUAL
                                    TAXPAYER-I.D. NO.                                                                              BEGINNING AND
 NAME                               (ITIN)/ COMPLETE EIN                  ADDRESS                        NATURE OF BUSINESS        ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                         ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                             DATES SERVICES RENDERED
 Liberty Tax Service                                                                                          2009-2007
 746 Route 18 North
 East Brunswick, NJ 08816

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                 ADDRESS                                                 DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                             ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                       DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                              DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                    INVENTORY SUPERVISOR                                    (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                           NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                         RECORDS



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               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                             NATURE OF INTEREST                       PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                             TITLE                        OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                            ADDRESS                                             DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                             TITLE                        DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                                DATE AND PURPOSE                         OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                       OF WITHDRAWAL                            VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                 TAXPAYER IDENTIFICATION NUMBER (EIN)




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                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date September 30, 2010                                                      Signature        /s/ Richard F Greenlaw
                                                                                               Richard F Greenlaw
                                                                                               Debtor

                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                 United States Bankruptcy Court
                                                                               District of New Jersey
 In re       Richard F Greenlaw                                                                                    Case No.
                                                                                          Debtor(s)                Chapter    13


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                      $               3,500.00
              Prior to the filing of this statement I have received                                            $               3,500.00
              Balance Due                                                                                      $                   0.00

2.     $    274.00         of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                  Other (specify):            Roland M. Cavalier
                                                                       M Michael Gass
                                                                       Henry F. Malafronte, Jr.

4.     The source of compensation to be paid to me is:

                   Debtor                  Other (specify):            $726.00 remaining in Trust.

5.              I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       September 30, 2010                                                          /s/ Dawn R. SanFilippo
                                                                                          Dawn R. SanFilippo
                                                                                          Dawn R. SanFilippo, Esq., P.C.
                                                                                          411 Pompton Avenue
                                                                                          Lower Level
                                                                                          Cedar Grove, NJ 07009-1800
                                                                                          973-239-3100 Fax: 973-239-7680
                                                                                          drsesqdawn@optonline.net




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B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                       UNITED STATES BANKRUPTCY COURT
                                                            DISTRICT OF NEW JERSEY
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
            $39 administrative fee: Total fee $274)


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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B 201B (Form 201B) (12/09)
                                                                 United States Bankruptcy Court
                                                                               District of New Jersey
 In re       Richard F Greenlaw                                                                                     Case No.
                                                                                        Debtor(s)                   Chapter        13


                                     CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                         UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                             Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
                                                                                                                                        September 30,
 Richard F Greenlaw                                                                       X /s/ Richard F Greenlaw                      2010
 Printed Name(s) of Debtor(s)                                                               Signature of Debtor                         Date

 Case No. (if known)                                                                      X
                                                                                              Signature of Joint Debtor (if any)        Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                                 United States Bankruptcy Court
                                                                              District of New Jersey
 In re       Richard F Greenlaw                                                                        Case No.
                                                                                         Debtor(s)     Chapter    13




                                                VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      September 30, 2010                                                /s/ Richard F Greenlaw
                                                                              Richard F Greenlaw
                                                                              Signature of Debtor




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                        10 Fingers Ink
                        Eight Hummingbird Court
                        Marlboro, NJ 07746


                        Aesulapius Communications, Inc.
                        41 Wellington Road
                        East Brunswick, NJ 08816


                        Afni, Inc.
                        Attn: DP Recovery Support
                        PO Box 3427
                        Bloomington, IL 61702


                        Alpha Graphics
                        401 Jersey Avenue
                        New Brunswick, NJ 08901


                        American Express
                        c/o Becket and Lee LLP
                        PO Box 3001
                        Malvern, PA 19355


                        Andrew and Jennifer Fleischer
                        908 Plattner Court
                        Annapolis, MD 21401


                        Arrow Financial Services
                        5996 West Touhy Avenue
                        Niles, IL 60714


                        Aspen Environmental Services
                        2227 US Highway 1
                        Suite 268
                        North Brunswick, NJ 08902


                        Associated Recovery Services
                        PO Box 469046
                        Escondido, CA 92046-9046


                        Associates in Pschological Services
                        25 North Doughty Avenue
                        Somerville, NJ 08876
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                    At&t Credit Management
                    At&T Credit Management Center
                    PO Box 80701
                    Charleston, SC 29416


                    AT&T Mobility
                    c/o Nationwide Recovery Systems
                    2304 Tarpley Drive
                    Suite 134
                    Carrollton, TX 75006


                    BAC Home Loans Servicing
                    450 American Street
                    Simi Valley, CA 93065


                    Baldassano Dermato Pathology
                    828 Creekview Drive
                    Blue Bell, PA 19422


                    Bank of America
                    Attn: Bankruptcy NC4-105-02-77
                    PO Box 26012
                    Greensboro, NC 27410


                    Bank of America
                    70 Batterson Park Road
                    Farmington, CT 06032


                    Bank of America
                    PO Box 25118
                    Tampa, FL 33622-5118


                    Bank of America Business
                    PO Box 2864
                    Hartford, CT 06101


                    Beth Sarsfield
                    1084 Oakcroft Lane
                    Somerset, NJ 08873


                    BP Metuchen Service Center
                    Route 27 & Lake Avenue
                    Metuchen, NJ 08840
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                    Camino Graphic Design
                    38 Colony Road
                    Lexington, MA 02420


                    Cardiology Associates
                    593 Cranbury Road
                    East Brunswick, NJ 08816


                    Cenlar
                    c/o FIA Card Services
                    PO Box 15137
                    Wilmington, DE 19850


                    Center for Asthma and Allergy
                    18 North Third Avenue
                    Highland Park, NJ 08904


                    Chase
                    PO Box 15298
                    Wilmington, DE 19850


                    Chase Bank
                    PO Box 15548
                    Wilmington, DE 19886


                    Christies Messenger Service, Inc.
                    12 South Plainfield Avenue
                    South Plainfield, NJ 07080


                    Citibank
                    c/o NCO Financial Systems
                    507 Prudential Road
                    Horsham, PA 19044


                    Citibank S.D., N.A.
                    Attn: Centralized Bankruptcy
                    PO Box 20507
                    Kansas City, MO 64195


                    Citibank, S.D., N.A.
                    Faloni & Associates, LLC
                    165 Passaic Avenue
                    Suite 301B
                    Fairfield, NJ 07004
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                    City of Philadelphia
                    PO Box 41819
                    Philadelphia, PA 19101


                    Creditone, LLC
                    PO Box 625
                    Metairie, LA 70004


                    David Levine
                    501 East 78th Street
                    New York, NY 10075


                    David Luce
                    c/o Bravado Consulting, Inc.
                    810 North Folk Landing Road
                    Maple Shade, NJ 08052


                    Department Store National Bank
                    c/o Plaza Associates
                    307 7th Avenue
                    New York, NY 10001


                    Discover Financial Services
                    Attention: Bankruptcy Department
                    PO Box 3025
                    New Albany, OH 43054


                    Dr. Patricia Bennett
                    59 Main Street
                    Suite 350
                    West Orange, NJ 07052


                    Dyck Oneal Inc.
                    15301 Spectrum Drive
                    Addison, TX 75001


                    Edison Metuchen Orthpedics
                    c/o Northeast Assest Recovery, Inc.
                    PO Box 209
                    Thornwood, NY 10594


                    Edward Wilkens
                    20 Innes Road
                    East Brunswick, NJ 08816
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                    Eugene & Susan Kaczmarek
                    17 Timothy Lane
                    East Brunswick, NJ 08816


                    EZ Pass
                    PO Box 52002
                    Newark, NJ 07101-8202


                    Federal Express
                    c/o American Bureau of Collections
                    110 Main Street
                    Buffalo, NY 14209


                    Federal Express
                    c/o Amalgamated Financial
                    PO Box 1006
                    105 Whiteoak Lane
                    Neshanic Station, NJ 08853


                    Glenn & Deborah Sandberg
                    Two Perry Road
                    East Brunswick, NJ 08816


                    Gloria Smutko
                    17 Fifth Street
                    South River, NJ 08882


                    GV Cerv Communications
                    705 Marion Road
                    Neptune, NJ 07753


                    Hayman Consulting, LLC
                    457 North Woodburn Road
                    Langhorne, PA 19047


                    Hayt, Hayt & Landau, LLC
                    Two Industrial Way Street
                    PO Box 500
                    Eatontown, NJ


                    Horizon Blue Cross Blue Shield of NJ
                    c/o Morgan Bornstein
                    1236 Brace Road
                    Cherry Hill, NJ 08034
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                    HSBC Bank Nevada, N.A.
                    PO Box 9180
                    Wood Dale, IL 60191


                    HSBC Platnum
                    PO Box 5253
                    Carol Stream, IL 60197


                    I C System, Inc.
                    PO Box 64378
                    Saint Paul, MN 55164


                    Independent Recovery Resoruces
                    24 Railroad Avenue
                    Patchogue, NY 11772


                    Internal Revenue Service
                    PO Box 37004
                    Hartford, CT 06176-0004


                    J. Richard Trout, PhD
                    1698 Meetinghouse Lane
                    Morrisville, PA 19067


                    Jack Pasini
                    4280 Galt Ocean Drive
                    Fort Lauderdale, FL 33308


                    James & Beth Knox
                    232 Oak Street
                    South Amboy, NJ 08879


                    James & Dolores Arace
                    c/o Chas K. Graber, Esq.
                    King of Prussia, PA 19406


                    Joel Palmer
                    701 South 9th Street
                    Philadelphia, PA 19147-2005


                    Joerg P. Hermans
                    36 Scott Road
                    Harvard, MA 01451
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                    John Asch Contracting
                    Two Morris Court
                    East Brunswick, NJ 08816


                    Jolas & Associates
                    PO Box 4000
                    Mason City, IA 50402


                    Julia Schroeder
                    1316 Rutland Lane
                    Wynnewood, PA 19096


                    Karen Tormey
                    672 Frayne Street
                    Pittsburgh, PA 15207


                    Katherine Hassel
                    Asset Recovery Group
                    11856 Balboa Boulevard
                    Granada Hills, CA 91344


                    Kay E. Sicknick
                    14 Lisa Drive
                    South River, NJ 08882


                    LBC Communications, Inc.
                    c/o Ansell Grimm & Aaron, P.C.
                    1500 Lawrence Avenue
                    CN7807
                    Ocean, NJ 07712


                    Macy's/FDSB
                    Macy's Bankruptcy
                    PO Box 8053
                    Mason, OH 45040


                    Marge & Nancy Wavrica
                    16 Manton Avenue
                    East Brunswick, NJ 08816


                    Mariano Press
                    14 Veronica Avenue
                    Somerset, NJ 08877
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                    Martha Brumfield, PhD
                    400 East 85th Street
                    17D
                    New York, NY 10128


                    MC Communications Inc.
                    c/o Doremus and Roesler
                    PO Box 45
                    Burlington, VT 05401


                    Merry Maids
                    665 New Brunswick Avenue
                    Perth Amboy, NJ 08861


                    Metro Anesthesia Consultants
                    c/o Raymond Meisenbacher & Sons, Esqs.
                    739 East Main Street
                    Bridgewater, NJ 08807


                    Michael & Kim Hollifield
                    308 Fairfield Avenue
                    Dunellen, NJ 08812


                    Michael Marosy
                    Sharon Reilly-Marosy
                    15 Huntington Road
                    East Brunswick, NJ 08816


                    Nationwide Credit, Inc.
                    PO Box 740640
                    Atlanta, GA 30374-0640


                    Northstar Location Services, LLC
                    Attn: Financial Services, Department
                    4285 Genesee Street
                    Buffalo, NY 14225-1943


                    OfficeMax
                    263 Shuman Boulevard
                    Naperville, IL 60563


                    Orest Harasymczuk
                    577 Windsong Drive
                    Aberdeen, MD 21001
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                    Palmer, Lugo and Olea
                    5353 North Federal Highway
                    Fort Lauderdale, FL 33308


                    Patricia C. Walter
                    3183 Weston Street
                    Philadelphia, PA 19136-1811


                    Perter Panasis
                    21 Westminster Boulevard
                    South Amboy, NJ 08879


                    Peter Luongo
                    4248 River Green Drive
                    No. 311
                    Atlanta, GA 30327


                    Pressler and Pressler, L.L.P.
                    Counselors at Law
                    7 Entin Road
                    Parsippany, NJ 07054-5020


                    Richard Zielinski
                    21 South Woodland Avenue
                    East Brunswick, NJ 08816


                    Robert J. Sullivan
                    17 Overland Road
                    East Brunswick, NJ 08816


                    Robert W. Rhoades, Inc.
                    2400 Clubhouse Road
                    Steamboat Springs, CO 80477


                    Rochdale Insurance Co.
                    555 North Pleasantburg Drive
                    Greenville, SC 29607


                    Roger Maitland, PhD
                    Nine Rutgers Street
                    Edison, NJ 08817
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                    Ron Moreau
                    c/o Can Corp or America
                    326 June Avenue
                    Blandon, PA 19510


                    Roy H. & Joan A. Deboer
                    11 Watchung Road
                    East Brunswick, NJ 08816


                    Schachter Portnoy, LLLC
                    Attorney at Law
                    3490 US Route 1
                    Suite 6
                    Princeton, NJ 08540


                    Sears/Citibank, S.D.
                    PO Box 6189
                    Sioux Falls, SD 57117


                    SLM Consulting
                    303 White Swan Way
                    Langhorne, PA 19047


                    State of New Jeresy
                    Gross Income Tax
                    PO Box 046
                    Trenton, NJ 08646-0046


                    Stewart Business Systems
                    4365 US Highway 1
                    Princeton, NJ 08540


                    Superior Court of New Jersey
                    Special Civil Part - Middlesex County
                    56 Paterson Street
                    New Brunswick, NJ 08903


                    Susan M. Fehrer
                    115 Orchard Avenue
                    Hightstown, NJ 08520


                    Thomas O'Brien Construction
                    204 A Wilton Avenue
                    Middlesex, NJ 08846
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                    Todd B. Bates
                    1037 Hoover Drive
                    North Brunswick, NJ 08902


                    Verizon Busiess
                    c/o Solomon and Solomon
                    Five Columbia Circle
                    Albany, NY 12212


                    W. Thomas McDonough, Esq.
                    363 Bloomfield Avenue
                    Montclair, NJ 07042


                    Wells Fargo Bank
                    PO Box 30086
                    Los Angeles, CA 90030


                    Wells Fargo Home Mortgage
                    PO Box 10335
                    Des Moines, IA 50306


                    William & Cynthia Cook
                    179 Exeter Street
                    Highland Park, NJ 08904


                    William B. Arfken
                    87 Lori Street
                    Monroe Township, NJ 08831
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B22C (Official Form 22C) (Chapter 13) (04/10)

 In re  Richard F Greenlaw                                                                    According to the calculations required by this statement:
                Debtor(s)                                                           The applicable commitment period is 3 years.
 Case Number:
                                                                                    The applicable commitment period is 5 years.
                       (If known)
                                                                                    Disposable income is determined under § 1325(b)(3).
                                                                                   Disposable income is not determined under § 1325(b)(3).
                                                                               (Check the boxes as directed in Lines 17 and 23 of this statement.)


                        CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                  AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.
                                                                          Part I. REPORT OF INCOME
             Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     1       a.        Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
             b.      Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
             All figures must reflect average monthly income received from all sources, derived during the six Column A                                   Column B
             calendar months prior to filing the bankruptcy case, ending on the last day of the month before
             the filing. If the amount of monthly income varied during the six months, you must divide the      Debtor's                                  Spouse's
             six-month total by six, and enter the result on the appropriate line.                              Income                                    Income

     2       Gross wages, salary, tips, bonuses, overtime, commissions.                                                         $            0.00 $
             Income from the operation of a business, profession, or farm. Subtract Line b from Line a and
             enter the difference in the appropriate column(s) of Line 3. If you operate more than one business,
             profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
             number less than zero. Do not include any part of the business expenses entered on Line b as
     3       a deduction in Part IV.
                                                                         Debtor                 Spouse
              a.     Gross receipts                               $               0.00 $
              b.     Ordinary and necessary business expenses $                   0.00 $
              c.     Business income                              Subtract Line b from Line a                    $                           0.00 $
             Rents and other real property income. Subtract Line b from Line a and enter the difference in
             the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
             part of the operating expenses entered on Line b as a deduction in Part IV.
     4                                                                 Debtor                Spouse
              a.    Gross receipts                               $              0.00 $
              b.    Ordinary and necessary operating expenses $                 0.00 $
              c.    Rent and other real property income          Subtract Line b from Line a                                    $            0.00 $
     5       Interest, dividends, and royalties.                                                                                $            0.00 $
     6       Pension and retirement income.                                                                                     $            0.00 $
             Any amounts paid by another person or entity, on a regular basis, for the household
     7       expenses of the debtor or the debtor's dependents, including child support paid for that
             purpose. Do not include alimony or separate maintenance payments or amounts paid by the
             debtor's spouse.                                                                                                   $            0.00 $
             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
             However, if you contend that unemployment compensation received by you or your spouse was a
             benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8       or B, but instead state the amount in the space below:
              Unemployment compensation claimed to
              be a benefit under the Social Security Act Debtor $                           0.00 Spouse $                       $            0.00 $




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             Income from all other sources. Specify source and amount. If necessary, list additional sources
             on a separate page. Total and enter on Line 9. Do not include alimony or separate
             maintenance payments paid by your spouse, but include all other payments of alimony or
             separate maintenance. Do not include any benefits received under the Social Security Act or
     9       payments received as a victim of a war crime, crime against humanity, or as a victim of
             international or domestic terrorism.
                                                                     Debtor                    Spouse
              a.                                             $                        $
              b.                                             $                        $                      $                   0.00 $
    10       Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9
             in Column B. Enter the total(s).                                                               $                    0.00 $
    11       Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter
             the total. If Column B has not been completed, enter the amount from Line 10, Column A.        $                                         0.00

                                     Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
    12       Enter the amount from Line 11                                                                                           $                 0.00
             Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
             calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse,
             enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a regular basis for
             the household expenses of you or your dependents and specify, in the lines below, the basis for excluding this
             income (such as payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the
    13       debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments
             on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
              a.                                                                              $
              b.                                                                              $
              c.                                                                              $
             Total and enter on Line 13                                                                                              $                 0.00
    14       Subtract Line 13 from Line 12 and enter the result.                                                                     $                 0.00

    15       Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12 and
             enter the result.                                                                                                       $                 0.00
             Applicable median family income. Enter the median family income for applicable state and household size. (This
    16       information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

              a. Enter debtor's state of residence:                       NJ             b. Enter debtor's household size:   1       $         59,812.00
             Application of § 1325(b)(4). Check the applicable box and proceed as directed.
                    The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is 3 years" at
    17             the top of page 1 of this statement and continue with this statement.
                    The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period is 5 years"
                   at the top of page 1 of this statement and continue with this statement.
                                 Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
    18       Enter the amount from Line 11.                                                                                          $                 0.00
             Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total of
             any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of the
             debtor or the debtor's dependents. Specify in the lines below the basis for excluding the Column B income(such as
             payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
             dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on a
    19       separate page. If the conditions for entering this adjustment do not apply, enter zero.
              a.                                                                              $
              b.                                                                              $
              c.                                                                              $
             Total and enter on Line 19.                                                                                             $                 0.00
    20       Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                            $                 0.00




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    21       Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12 and
             enter the result.                                                                                                          $                0.00
    22       Applicable median family income. Enter the amount from Line 16.                                                            $        59,812.00
             Application of § 1325(b)(3). Check the applicable box and proceed as directed.
                   The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined under §
    23             1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
                    The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not determined under
                   § 1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts IV, V, or VI.

                                     Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                                    Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
             National Standards: food, apparel and services, housekeeping supplies, personal care, and miscellaneous.
   24A       Enter in Line 24A the "Total" amount from IRS National Standards for Allowable Living Expenses for the
             applicable household size. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
             bankruptcy court.)                                                                                                         $
             National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
             Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
             Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of your
             household who are under 65 years of age, and enter in Line b2 the number of members of your household who are
             65 years of age or older. (The total number of household members must be the same as the number stated in Line
             16b.) Multiply Line a1 by Line b1 to obtain a total amount for household members under 65, and enter the result in
   24B       Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household members 65 and older, and enter the
             result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 24B.
              Household members under 65 years of age                                    Household members 65 years of age or older
              a1.       Allowance per member                                             a2.   Allowance per member
              b1.       Number of members                                                b2.   Number of members
              c1.       Subtotal                                                         c2.   Subtotal                                 $
             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
   25A       Utilities Standards; non-mortgage expenses for the applicable county and household size. (This information is
             available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                                $
             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
             Housing and Utilities Standards; mortgage/rent expense for your county and household size (this information is
             available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average
             Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and enter
   25B       the result in Line 25B. Do not enter an amount less than zero.
              a.      IRS Housing and Utilities Standards; mortgage/rent Expense                      $
              b.      Average Monthly Payment for any debts secured by your
                      home, if any, as stated in Line 47                                              $
              c.      Net mortgage/rental expense                                                     Subtract Line b from Line a.      $
             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A and
             25B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    26       Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
             contention in the space below:
                                                                                                                                        $




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             Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
             expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
             regardless of whether you use public transportation.
             Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
   27A       included as a contribution to your household expenses in Line 7.     0      1       2 or more.
             If you checked 0, enter on Line 27A the "Public Transportation" amount from IRS Local Standards:
             Transportation. If you checked 1 or 2 or more, enter on Line 27A the "Operating Costs" amount from IRS Local
             Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
             Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $
             Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
             for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   27B       your public transportation expenses, enter on Line 27B the "Public Transportation" amount from the IRS Local
             Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
             court.)                                                                                                                $
             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
             you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
             vehicles.)    1       2 or more.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
             (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    28       Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a and enter
             the result in Line 28. Do not enter an amount less than zero.
              a.      IRS Transportation Standards, Ownership Costs                      $
                      Average Monthly Payment for any debts secured by Vehicle
              b.      1, as stated in Line 47                                            $
              c.      Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.                $
             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
             the "2 or more" Box in Line 28.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
             (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    29       Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a and enter
             the result in Line 29. Do not enter an amount less than zero.
              a.      IRS Transportation Standards, Ownership Costs                      $
                      Average Monthly Payment for any debts secured by Vehicle
              b.      2, as stated in Line 47                                            $
              c.      Net ownership/lease expense for Vehicle 2                          Subtract Line b from Line a.                $
             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    30       state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
             security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $
             Other Necessary Expenses: mandatory deductions for employment. Enter the total average monthly payroll
    31       deductions that are required for your employment, such as mandatory retirement contributions, union dues, and
             uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                            $
             Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
    32       life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
             any other form of insurance.                                                                                            $
             Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
    33       pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
             include payments on past due obligations included in line 49.                                                           $
             Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
    34       the total average monthly amount that you actually expend for education that is a condition of employment and for
             education that is required for a physically or mentally challenged dependent child for whom no public education
             providing similar services is available.                                                                          $

    35       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
             childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.           $




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             Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on health
    36       care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by insurance
             or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do not include
             payments for health insurance or health savings accounts listed in Line 39.                                               $
             Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
    37       actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
             pagers, call waiting, caller id, special long distance, or internet service-to the extent necessary for your health and
             welfare or that of your dependents. Do not include any amount previously deducted.                                        $
    38       Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                       $

                                               Subpart B: Additional Living Expense Deductions
                                      Note: Do not include any expenses that you have listed in Lines 24-37
             Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
             the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
             dependents.
    39        a.          Health Insurance                                               $
              b.          Disability Insurance                                           $
              c.          Health Savings Account                                         $
             Total and enter on Line 39                                                                                                $

             If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
             below:
             $
             Continued contributions to the care of household or family members. Enter the total average actual monthly
    40       expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
             ill, or disabled member of your household or member of your immediate family who is unable to pay for such
             expenses. Do not include payments listed in Line 34.                                                                      $
             Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
    41       actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or other
             applicable federal law. The nature of these expenses is required to be kept confidential by the court.              $
             Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
    42       Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
             trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
             claimed is reasonable and necessary.                                                                            $
             Education expenses for dependent children under 18. Enter the total average monthly expenses that you
             actually incur, not to exceed $147.92 per child, for attendance at a private or public elementary or secondary
    43       school by your dependent children less than 18 years of age. You must provide your case trustee with
             documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
             necessary and not already accounted for in the IRS Standards.                                                             $
             Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
             expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    44       Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
             or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
             reasonable and necessary.                                                                                                 $
             Charitable contributions. Enter the amount reasonably necessary for you to expend each month on charitable
    45       contributions in the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. §
             170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.                                   $
    46       Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                               $




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                                                             Subpart C: Deductions for Debt Payment
             Future payments on secured claims. For each of your debts that is secured by an interest in property that you
             own, list the name of creditor, identify the property securing the debt, state the Average Monthly Payment, and
    47       check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all amounts
             scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the bankruptcy
             case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the Average Monthly
             Payments on Line 47.
                    Name of Creditor                Property Securing the Debt                    Average          Does payment
                                                                                                  Monthly          include taxes
                                                                                                  Payment          or insurance
               a.                                                                             $                        yes    no
                                                                                              Total: Add Lines                       $
             Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence, a
             motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    48       your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
             payments listed in Line 47, in order to maintain possession of the property. The cure amount would include any
             sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
             the following chart. If necessary, list additional entries on a separate page.
                    Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
                a.                                                                             $
                                                                                                               Total: Add Lines      $
             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    49       priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
             not include current obligations, such as those set out in Line 33.                                                      $
             Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
             resulting administrative expense.

              a.        Projected average monthly Chapter 13 plan payment.                    $
    50        b.        Current multiplier for your district as determined under schedules
                        issued by the Executive Office for United States Trustees. (This
                        information is available at www.usdoj.gov/ust/ or from the clerk of
                        the bankruptcy court.)                                                x
              c.        Average monthly administrative expense of Chapter 13 case             Total: Multiply Lines a and b          $
    51       Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                              $

                                                            Subpart D: Total Deductions from Income
    52       Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                           $

                             Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
    53       Total current monthly income. Enter the amount from Line 20.                                                            $
             Support income. Enter the monthly average of any child support payments, foster care payments, or disability
    54       payments for a dependent child, reported in Part I, that you received in accordance with applicable nonbankruptcy
             law, to the extent reasonably necessary to be expended for such child.                                                  $
             Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
    55       wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required repayments of
             loans from retirement plans, as specified in § 362(b)(19).                                                            $
    56       Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                       $




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             Deduction for special circumstances. If there are special circumstances that justify additional expenses for which
             there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines a-c below.
             If necessary, list additional entries on a separate page. Total the expenses and enter the total in Line 57. You must
             provide your case trustee with documentation of these expenses and you must provide a detailed explanation
             of the special circumstances that make such expense necessary and reasonable.
    57                Nature of special circumstances                                                     Amount of Expense
              a.                                                                                          $
              b.                                                                                          $
              c.                                                                                          $
                                                                                                          Total: Add Lines                 $

    58       Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and enter the
             result.                                                                                                                       $
    59       Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                             $

                                                         Part VI. ADDITIONAL EXPENSE CLAIMS
             Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
             of you and your family and that you contend should be an additional deduction from your current monthly income under §
             707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
             each item. Total the expenses.

    60                Expense Description                                                                                 Monthly Amount
              a.                                                                                              $
              b.                                                                                              $
              c.                                                                                              $
              d.                                                                                              $
                                                                         Total: Add Lines a, b, c and d       $
                                                                             Part VII. VERIFICATION
             I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
             must sign.)
    61                     Date: September 30, 2010                                      Signature: /s/ Richard F Greenlaw
                                                                                                      Richard F Greenlaw
                                                                                                                 (Debtor)




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